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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   UNITED STATES OF AMERICA
                                               Criminal Action No.
         V.

                                               l:19-cr-00184~MHC-JSA
   JlMC. BECK



              CONSENT PRELIMINARY ORDER OF FORFEITURE
   The jury having convicted the defendant, Jim C. Beck (^Defendant )/ on Counts

One through Four/ Six through Eight/ Eleven, Thirteen, through Twenty-Fiye/

Twenty-Six through Thirty-Three^ and Thirty-Six through Thirty-Nine of the

Superseding Indictment/ pursuant to which the United States sought forfeiture of

certain property under 18 U.S.C, § 981(a)(l)(C) and 28 US.C §2461(c) and 18

U.S.C § 982(a), and the Court havmg determined that the property described

below is subject: to forfeiture pursuant thereto, that the Govemm.ent has

established the requisite nexus between said property and the offenses charged in

Counts One through Four, Six thrcragh Eight/ Eleven/ Thirteen through Twenty-

Five/ Twenty-Six through Thirty-Tliree, and Tlitrty-Six through Thirty-Nxne of die

Superseding Indictment/ and the Defendant having consented to this Consent

Preliminary Order of Forfeiture becoming final as to him, being made a part of his

sentence and being included in the judgment against him;
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      IT IS HEREBY ORDERED that the Defendant shall forfeit to the United

States his interest in the foltowing property pursuant to 18 U.S.C. § 981(a)(l)(C)

and 28 US.C. § 2461(c) and 18 U.S.C § 982(a)(l):
      1, FUNDS

         a. $80,000.00 in funds seized from United Community Bank Account

            ending 5675 held in the name of Jim Beck for Georgia/ Inc./ on May

            14,2019;

         b. $5,009.77 in funds seized from United Commtmify Bank Account

            ending 9227 held in the name of Jimmy C Beck dba GA Christian

            Coalition, on May 14,2019;

         c. $6/772<82 in funds seized from SunTmst Bank Account ending 3824

            held in the name of Lucile R. Beck dba Creative Consultants/ on May

            14,2019;

         d. $78,049.25 in funds seized from Ameriprise Fmancial Account

            ending 3133 held in te names of Lucile R. Beck and Jim C. Beck, on

            June 3,2019; and,

         e. $256/901.64 m funds seized from Ameriprise Certificate Company

            account ending 9001 held in the names of Lucile R. Beck and Jim C.

            Beck Sr., on June 3/ 2019.

      it. MONEY JUDGMENT: A forfeiture money judgement in the amount of

         $2/064/781.85, representing the amount of proceeds the Defendant

         received as a result of the offenses upon which he was convicted,
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       IT IS FURTHER ORDERED that, pursuant to 18 U.S.C § 981(a)(l)(C) and 28

 U.S,C. § 2461(c) and 18 U.S.C. § 982(a)(l)/ the Defendant shall forfeit to the United

 States his interest, and whatever interest he might hold as an own-er of Look into

 the Future Properties 1, LLC and Look into the Future Properties II/ LLC/ in the

 following piQperty:

           a. The real property located at 404 Old Peachtree Road, Lawrenceville,

              Gwinnett County, Georgia 30043/ more particularly described as:


              All that tract or parcel of land lymg and being in Land Lot 149 of the
              7th Distriet/ Gwinnett County/ Georgia/ being designated as Tracfc 2/
              containing 0,72 acres, as shown on a plat of survey recorded m Plat
              Book T, Page 127B/ Gwiftnett County/ Georgia Records/ which plat is
              incorporated herein, by reference and made a part hereof;

          b. The real property located at 556 Frashier Road, Carrollton/ Carroll

              Counfcy, Georgia 30116/ more particularly described as:


              AH that tract or parcel of land lying and being in Land Lot 181 of the
              5A Distdct of Carroll County, Georgia, contaming 0.88 acres/ and
              being more particularly described on plafc of survey for "Billy
              Maxwell," dated July 20, 2006, prepared by Henry T. McBrayer, GA
              RLS #2570, recorded in Plat Book 100, Page 231, Carroll County,
              Georgia Records, wllich plat is incorporated herein by reference for a
              more Gomplete and accurate description of said property;

           (collectively, ^Subject Real Property7").

       IT IS HEREBY OKDERED that upon entry of this order, tie United States

 Attorney General, or his designer is authorized to seize all of the property in

 accordance with Fed. R. Crim. P. 32.2(b)(35.
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      The United States shall publish notice of this Order and its intent to dispose

of the property in accordance with Fed. R. Crtm. P. 32,2(b)(6) and in such a manner

as described mSupplemerit;alRuleG(4)(a)(m) and (iv) of the Federal Rules of Civil

Procedure, The United States shall send written notice/ m accordance with

Supplemental Rule G(4)(b)(iii)~(v), to any person who reasonably appears to be a

potential claimant "with standing to contest the forfeiture of the above-listed

property in the ancillary proceeding.

      Pursuant to 21 U.S.C § 853(n)(2), as incorporated by 18 U.S.C § 982(b)(l)/

any person/ other than the named Defendant and Lucile Beck as set forth in

Attachment A to this Consent Preliirdnary Order of Forfeiture/ asserting a legal

interest in the property may within thirty days of the final publication of the notice

or their receipt of the notice/ whichever is earlier/ petition the Court for a liearmg

without a jury to adjudicate the vaHdxty of their alleged interest in the property

and for an amendment to theorder offorfeiture. Any petition filed by a third party

asserting an interest in the property shall be signed by the petitioner under penalty

of perjury and shall set forth the nature and extent of the petitioner's right, title/ or

interest m the property, the time and circumstance ot the petitioners acquisition

of the right/ title/ or interest, and any additional facts supporting ti-ie petitioner's

claim, and the relief sought

       After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(I)(A)

 and before a hearing on the petition, discovery may be conducted in accQrdance

with the Federal Rules of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.
                                            4
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      The United States shall have clear titie to the property following the Court's

disposition of all fchird-party interests or, if none/ following the expiration of the

period provided in 21 U.S.C § 853(n)(2) for the filing of the third-party petitions.

The Court shall retain, jurisdiction to enforce this order and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

      IT IS FURTHER ORDERED that, pursuant to Fed. R. Crim. P. 32.2(b)(4), this

Preliminary Order of JForfeihire is hereby final as to the Defendant but remains

preUminary as to third parties, except for Lucile Beck as set forth in Attachment A

to this Consent Preluninary Order of Forfeiture, until the ancillary proceeding is

concluded under Rule 32.2(c),

   SO ORDERED this ^^ day of ^C^t)^r . 2021.



                                        MARKKCOHEN
                                        UNITED STATES DISTRICT JUDGE


 Sub/p^utted by: / {] /f Consented to:
                                                   fJUL—
                                            William H. Thomas ]r.
 Sekret T. Sneed _ ^ ^^ ^^ Thomas Firm, LLC
 Assistant United States Attorney bm@whthomaslawfiTm;com
                                            511 East Paces Ferry Road NE
                                            Atlanta/GA 30305
                                            (404) 897-352
                                            Consented to\
                                             /^ju—^^ (}^ —) ^h^
                                            Randy S. Chartash €^ fh^
                                            Charfcash Law/ LLC
                                                                                  ^/^w/5P^\
Case 1:19-cr-00184-MHC-JSA Document 135 Filed 10/08/21 Page 6 of 15




                                   Georgia Bar No. 121760
                                   3151 Maple Dr./N.E.
                                   Atlanta, Georgia 303Q5
                                   randy@chartashlaw.com
                                   (404)333»2423
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                   IN THE: UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


    UNITED STATES QF .AMERICA

          ^ I Criminal Action No.

    JIM C BECK | l:19-cr-00184-.MHC-JSA


     AGREEMENT BETWEEN^ THE UNITED STATES OF AMERICA AND
    LUCILEBECK - ATTACHMENTA TO THE CONSENT PRELIMINARY
                     ORDER OF FORFEITURE


    Lucile Beck^ Look into the Future Properties I/ LLC and Look into the Future

 Properties/ II, LLC/ by and through their counsel, Randy S. Chartash, and the

 United States of AmeriGa/ by and through Kurt R. Erskine/ Actmg United States

 Attorney/ and Selaret T. Sneed, Assistant United States Attorney, for the Northern

 District of Georgia (hereinafter/ Parties")/ enter info this Agreement to ensure

 that the terms of the Consent Preliminary Order of Forfeiture consented to by the

 defendant, Jim C, Beek (heremafter/ the ^Defendant")/ and the United States of

 America/ m the above-captioned action/ may be fulfilled without further action

 on the part of either po.tiy or the Court and to resolve any and all claims that

 Lucile Beok, Look info tfxe Future Properties I/ LLG and Loo]<: into the Puiare

 Properties/ II/ LLC/ may have pertainmg to the United States/ contentions that Ae

 following property is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(l)(C), 28

 U.S.C § 2461 and 18 U.S.C. § 982(a):
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   1. FUNDS

         a. $80/000.00 in funds seized from United Community Bank Account

            ending 5675 held in the name of Jim Beck for Georgia, Inc./ on May

            14/2019,

         b. $5,009.77 in funds seized from United Community Bank Account

            ending 9227 held in fee name of Jimmy C Beck dba GA Christian

            Coalition, on May 14,2019;

         c. $6,772.S2 in funds seized from SunTrust Bank Account ending 3824

            held in the name of Lucile R. Beck dba Creative Consultants/ on May

            14/2019;
         d. $78,049.25 in funds seized from Ameriprise Bmancial Account

             ending 3133 held in the names of Lucile R. Beck and Jim C. Beck/ on

            June 3,2019; and,

         e. $256,901.64 in funds seized from Ameriprise Certificate Company

             account ending 9001 held in the names of Lucile R, Beck and Jim C.

             Beck Sr./ on Jime 3,2019.

   (collectively, "Subjecl Funds//).

   2. REAL PROPERTY
         a. The real property located at 404 Old Peachtree Road/ LawrenceviUe/

             Gwicmett County, Georgia 30043, more particularly described as:


             All that tract or parcel of land lying and being in Land Lot 149 of the
             7th District, Gwinnett County/ Georgia, being designated as Tract 2/
             eonfaimng 0.72 acres, as shown on a plat of survey recorded in Plat
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               Book T/ Page 127B, Gwirmefefe County, Georgia .Records/ which plat is
               mcorpQrated herein by reference and made a part hereof;

          b. The real property located at 556 Prashier Road, CarroMfon, Carroli

               County, Georgia 30116, more particularly described as:


               All that tract or parcel of land lying and being in Land Lot 181 of the
               5th District of Carroll County/ Georgia/ contaming 0.88 acres/ and
               being more particularly described on plat of survey for "Billy
               Maxwell/ dated July 20/2006, prepared by Henry T. McBrayer/ GA
               RLS #2570, recorded in Plat Book 100, Page 231, Carroll County/
               Georgia Records/ which plafc is incorporated herein by reference for a
              more complete and accurate description of said property;
    (collectively Subject Real Property").

 In Gcmsideration of the mtihial agreements eontamed herem, and in the Consent

 Preliimnary Order of Forfeiture in the above-captioned matter, the parties agree

 as follows:

 1. LtiGile Bectc asserts that she is a fifty percent (50%) owner of Look into the

    Future Properties I, LLC and Look into the Future Properties II/ LLC and, as

    such, has the authority to bind and represent Look mto the Puture Properties

    I/ LLC and Look into the Future Properties II/ LLC. Lucile Beck's husband,

    Jim C Beck/ the defendant in the above-captioned matter (heremaffcer/

    "Defendant)/ also is a fifty percent (50%) owner of Look into the Future

    Properties I/ LLC and Look into the Future Properties II, LLC and/ as such/

    also has the authority to bind and represent Look into the JPuture Propertxes I/

    LLC and Look into the Eufrure Properties II/ LLC.
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 2. Lucile Beck fwther asserts that Look mto the Future Properties I, LLC is the

    record owner of the following realproperty listed above: 404 Old Peachtree

    Road, Lawrenceyiile, Gwinnett County/ Georgia 30043.

 3. Lucile Bed< further asserts that Look into the Future Properfcles II, LLC is the

    record owner of the following real prQperty listed above: 556 Frashier Road,

    Carmllton/ Carroll County, Georgia 30116.

 4. Lucile Beck ackhowledges and agrees that the Subject Funds and Subject Real

    Property are subject to forfeiture pursuant to 18 U.S.C § 981(a)(l)(C) as

    property constituting, or derived fom, proceeds obtained directly or directly

    as a resultof violations of 18 U.S,C § 1341 (mail fraud) and 18 US.C § 1343

    (wire fraud) and pursuant to 18 U.S.C § 9B2(a)(l) as property involved m or

    traceable to violations of 18 U.S.C. § 1957 (money laundering) because the

    Defendantiias been foxmd guilty after a jury trial in the above-capfioned

    matter.

 5, Lucile Beck is aware of the terms and conditions of the Consent Preliminary

    Order of Forfeiture between the Defendant and the United States/ includmg

    hut not limited to/ the Defex-idant's consent to the forfeiture of his interests in

    the Subject Funds and of his interests/ on his own behalf/ and on the behatf of

    Look mto the Future Properties I, LLC and Look mto the Future Properties II/

    LLC in the Subject Real Property.

 6. In consideration of the Defendant's consent to the Consent Preliminary Order

    of Forfeiture and to release all claims to the Subject Funds and to the Subject

    Real Property in any ancillary proceedings in this matter, and in the related
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    civil forfeifcare action/ United States v. $80,000 in funds, etal., Civil Action No.

    l:19-cv-04625-LMM/ whidi is currently pending in the United States District

    Court for the Northern District of Georgia/ Lucile Beck hereby enters into this

    Agreement with the United States.

 7. Luciie Beck on belialf of herself, and on the behalf of Look into fhe Future

    Properties I, LLC and Look into fe Future Properties II, LLQ waives/

    abandons/ and disclaims any interest that she/ Look into the Future Properties

    I, LLC or Look into the Future Properties II/ LLC may have in the Subject

    Funds and Subject Real Property and consents to theu* immediate forfeiture in

    any action that the United States chooses.

 8. Lucile Beck waives any and all notice of any such forfeiture required by 18

    U.S.G. § 983, Mui<a ^ ©f the Bedeial Rules of Gryil Procedure, Supplemental

    Rule G of the Supplemental Rules for Admiralty or Maritime Claims and

    Asset Forfeiture Actions, or any other applicable law or provision.

 9» Lucile Beck agrees not to file any datm/ answer, or petition for remission or

    request for restitution in any admmistratlve or judicial proceeding pertaming

    to the Subject Property/ on her behalf, or on lie behalf of Look into the Future

    Properties I/ LLC or Look into the Future Properties II, LLC, and if such a

    docmnent has already been filed, she hereby withdraws that filing. Ludle

    Beck hereby expressly withdraws the Verified Claims she filed on her behalf,

    and on tie behalf of Look into te Puture Properties I, LLC and Look into the

    Futee Properties II/ LLC/ in the related civil forfeiture action/ United Stales v.

    $80,000 in Funds, et (d,, Civil Action No. l:19-cv-04625-LMM, which is
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    currency pending in tMe United States District Court for the Northern District

    of Georgia, Lucile Beck agrees to execute any necessary docum.en.ts, indudmg

    a consent dismissal/ to dxsmiss or resolve this pending civil action.

 10. Lacile Beck represents that, to the best of her knowledge/ and exdudmg the

    interests of the Defendant which have Been forfeited in the Consent

    Prelimmary Order of Porfeitoe, no other person or entity has an interest m

    the Subject Property and that she has not transferred/ conveyed or

    encumbered her intetesf in said property. Lucile Beck agrees to take all steps

    requested, by the United States to facilitate transfer of title of the Subject

    Property, induding providing and endorsing title certiftcates and quitdaim

    deeds or causing others to do tibe same where third parties hold nominal title

    on her behalf/ or an the behalf of Look into te Future Properties I/ LLG and

    Look into the Future Properties II, LLC, to a person designated by the United

    States. Lucile Beck agrees to take all steps necessary to ensure that the Subject

    Funds and the Subject: Real Pyoperty are not hidden, sold/ wasted, destroyed/

    or otherwise made unavailable for forfeiture/ and thai she will not take any

    action inconsistent with the terms of the Plea Agreement or with this

    Agreement. Lucile Beck acknowledges by virtue of this disclaimer that

    neither she. Look into the Future properties I/ LLC nor Look into the Future

    Properties II/ LLC shall have any standing to contest any forfeiture action

    against the Subjec t Funds and/ or the Subject Real Property.

 11. LucUe Beck waives all constitutional, legal, and equitable defenses to the

    forfeiture of the Subject Funds and the Subjeci: Real Properfcy m any
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    proceeding. Lucile Beck freely/ voluntarily/ knowingly/ and intelligently

    waives any right to appeal or coUateraily attack any matter in connection with

    lie forfeiture of the Subject Funds and the Subject Real Property.

 12. Lucile Beck hereby feleases any anci all daims^ rights/ and causes of action

    she/ Look into the Future Properties I/ LLC or Look into the Puture Properties

    II/ LLC, has or may have agamst the United States and its employees as a

    result of any seizures arising from the above-captioned matter or the related

    civil proceedmg, llmted States'u, $214^683.92 in U.S. Currency, eial., Cml

    Action No. l:19-cv-01704-CAP.

 13.Lucile Beck acknowledges full/ final/ and complete settlement in satisfaction

    of any and all claims of whatever Mnd/ character/and description/ which she/

    Loofc into the Puture Pfoperiies I/ LLC or Look into fche Future Properties II/

    LLC/ may have or ever had or may hereafter have against the United States of

    America/ its zepresentatives, officers, agents and employees mcormection

    with the forfeiture of the Subject Funds and/or the Subject Real Properly.

 14. LuGile Beck/ on her own behalf and on the behalf of Look into the Future

    Properties I, LLC or Loofc into the Future Ptoperties II, LLC/ further agrees to

    waive aB rights to participate in any ancillary proceeding(s) condticted under

    21 U.S.C § 853 in connection with this Griminalaction and any forfeiture

    proceeding conducted under IS U.S.C §§ 981 and 9S3 fliat arises out of the

    facts and circutrtstances resultuig in this case.

 15, The Parties shall each be responsible for any attorneys' fees and costs incurred

    in connection with this matter.


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 16;LuciIe Beck hereby adcnowledges and agrees that she has been afforded the

    opportumty to consult with competent counsel in connection with the

    negotiation, preparation/ and execution of this Agreement/ ti-iat its provisions

    and the legal effect of them have been explained to her, and that she has

    entered into this Agreement freely and volunferity, without Goerdon, duress^

    or undue mflixence.

 17. The Parties to this agreement acknowledge that this document and the

    ConsentPrelimmaiy Order of Forfeiture contain the entire agreement

    between tlie Parties, that no promise inducement has been made except as is

    set forth wifhm ifhose two documents, that this Agreement has no effect on

    any potential cNil/ criminal/ administrative or tax-related action that may be

    brought by any State or the United States against Lucile Beclv and that no

    representation or agreements/ oral or otherwise/ between the Parties to this

    Agreement and not included wifem this document or the Consent

    Preliminary Order of Forfeiture shall be of any force and effect. Each party to

    this Agreement relies upon his or her or its own judgment and similarly his/

    her/ or its ©wn belief and l<nowiedge of the facts underlying this agreement

    and the liability/ if any/ wtiich might arise from such facts. In making this

    Agreement/no party relies on any statement or representation, oral or

    otherwise, made by an opposmg party not found in this Agreement or in fhe

    Consent Preliminary Order of Forfeiture.
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 18.13ie aridccmditKXis of'th.is Agreement be Nndin^                                                               imire


   to the -benefit of the a.nd their respectiye heii-s^ executoi

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                                                                     Atlanta./ 303'                                        \,^m/y^
